Case 6:17-cv-02206-CEM-GJK Document 85 Filed 06/28/18 Page 1 of 3 PagelD 1106

 

 
 
  
 

 
 

ILED
IN OPEN COURT
JUN 2 8 2018

EXHIBIT LIST

   

 

 

 

 

 

 

 

 

 

 

 

 

 

: CLERK
DISTRICT COURT
___ Government X_ Plaintiff — Detendant _—~ Court.
Case No. 6-17-cv-2206-orl-18-GJK
Style: NuVasive, Inc, v. Absolute Medical, LLC,
etal.
Exhibit Date Date Sponsoring Objections / Description of Exhibit
No. Identified Admitted Witnesses Stipulated
Admissions’
christopher Cardwell December 13, 2017, correspondence from
] JUN 2 8 2018 JUN 2 8 20 Doc. 19-2) Cardwell to Absolute Medical, LLC's
counsel
Kirk Tyree February 14, 2013, Exclusive sales

2 JUN ? 8 201 JUN 2 8 apie: 60-7) Representative Agreement Between

NuVasive and Absolute Medical, LLC

 

3 rook Tyree Exemplar Copy of 2013 Independent Contractor
UN 2 8 2018 JUN 2 8 2) oc 60-7) Agreement Between Absolute Medical, LLC and
* its sales representatives
Dave Hawley’s and Ryan Miller's executed

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4 Kirk Tyree mature pages to 2013 Independent Contract
JUN 2 8 2016 JUN 2 8 201B(Woe. 60-7) pursement: wlth: Absolute ‘lees lic =r
5 8 n18 Absolute Medical, LLC Absolute Medical, LLC’s Responses to
JUN 2 2 JUN 2 8 2019 Ce" 60-1) Plaintiff's First Set of Interrogatories
6 Dave Hawley Dave Hawley’s Responses to Plaintil{’s First

JUN 2 8 2018 UN 2 8 2019 Pes 60-6) Set of Interrogatories

 

Mark Singer January 1, 2017, Exclusive Sales

7 JUN 2 8 2018 NUN 2 R agtgors nD Representative Agreement between Plaintiff]

and Absolute Medical, LLC

 

Mark Singer

8 JUN 2 8 2018 (Doc. 19-1) November 27, 2017, email from Greg
JUN 2 8 2018 Soutleris to Plaintiff

December TZ, 2UT/, email correspondence

9 JUN 9 8 2018 JUN 2 8 20 fe Singer from Dave Hawley to Elizabeth Lukianov

‘ac. 19-1)

 

 

 

 

January 1, 2017, Independent Contract
16 JU y 0 2018 JUN 2 8 20 had Bragulla Apaouneie watson beegull sha Abele

| (Doc. 60-10) Medical, Inc.

 

 

 

 

 

 

 

 

 

 

‘Use acode (e.g. “A°or**") in this column to identify exhibits to be received in evidence by agreement without objection.
Otherwise. specifically state each objection to each opposed exhibit. Please note that cach date box on the left must be one
inch wide to accommodate the Clerk’s date stamp.
Case 6:17-cv-02206-CEM-GJK Document 85 Filed 06/28/18 Page 2 of 3 PagelD 1107

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___ Government X_ Plaintiff Defendant ____ Court
Case No. 6-17-cv-2206-orl-18-GJK
Style: NuVasive, Inc. v. Absolute Medical, LLC,
et al.
Exhibit Date Date Sponsoring Objections / Description of Exhibit
No. ~~ | Identified Admitted Witnesses Stipulated
Admissions!
rennan Burkhart May 13, 2016, Independent Contractor
11 JUN 2 8 2018 JUN 2 8 20' Doc, 60-11) Agreement between Burkhart and Absolute
Medical, Inc.
Brennan Burkhart Proposed Termination of Contract and

= JUN 2 8 2018 JUN 2 8 20 Doc. 60-11) General Release Agreement between

Burkhart and Absolute Medical, Inc.

 

 

Absolute Medical, LLC Articles of Organization for Absolute
13 J UN 2 8 2018 JUN 2 8 20 Poe. 60-2) Medical, LLC on file with Florida Secretary
of State
Absolute Medical Articles of Organization and Annual Report

ld JUN 2 8 2018 JUN 2 8 20 | fFystems, LLC (Doe. 60-3) for Absolute Medical Systems, LLC on file

with Florida Secretary of State

 

15 Brandon Gottstein’s linkedin profile

Brandon Gottstein identify + is a Sales representative
JUN 2 8 2018 JUN 2 8 2048 © identifying he is a sales representative for

Alphatec Spine

 

16 i Medics : Absolute Medical, LLC’s Responses t
JUN 2 8 2018 JUN 9 8 aif Medical, LLC Absolute Wledica $ Kkesponses to

 

 

AB. 60-3) Plaintiff's First Set of Requests for
Production of Documents
Absolute Medical Absolute Medical Systems, LLC Responses
17 enc: . ~ 6l)-< and Objections to Plaintiff's Subpoena
JUN 2 8 2018 JUN 28 AGT Aems LLC (Doc. 60-4)
Mark Singer August 17, 2017, Territory Transition

18 JUN 2 8 2018 JUN 2 8 Z O1R< 48-1) Agreement between Plaintiff and Absolute
Medical, LLC
Absolute Medical, LLC Commissions Chart - Exhibit A to Absolute]

19 JUN 2 8 2018 JUN 2 8 204GPo«. 60-1) Medical, LLC’s Responses to Plaintiff's First

Set of Interrogatorics

5 1UN 4 8 o016 JUN 2 8 4 O18 = ; Declaration and photographs of custom
Z d Bragulla

4 instruments created by NuVasive for Dr.

No Exhibit 2\

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 6:17-cv-02206-CEM-GJK Document 85 Filed 06/28/18 Page 3 of 3 PagelD 1108

EXHIBIT LIST

X__ PLAINTIFF DEFENDANT JOINT

 

GOVERNMENT COURT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CASE NO
STYLE
EXHIBIT | DATE DATE SPONSORING OBJECTIONS / DESCRIPTION OF EXHIBIT
No. IDENTIFIED | ADMITTED | WITNESSES STIPULATED
ADMISSIONS!
2 6/28/18 6/28/18 ED SURGERY REQUISITION FORM
SEAL Q :
23 6/28/18 6/28/18 INDEPENDENT CONTRACTOR
AGREEMENT -BETWEEN
ABSOLUTE MEDICAL AND
MILLER TIME MEDICAL
24 6/28/18 6/28/18 INDEPENDENT CONTRACTOR
AGREEMENT - BETWEEN
ABSOLUTE MEDICAL AND
HAWLEY MEpD, LLC.
25 6/28/18 6/28/18 INDEPENDENT CONTRACTOR
AGREEMENT - BETWEEN
ABSOLUTE MEDICAL AND
MILLER TIME MEDICAL, INC.
26 6/28/18 6/28/18 INDEPENDENT CONTRACTOR
AGREEMENT - BETWEEN
ABSOLUTE MEDICAL AND
HAWLEY MED, LLC.

 

 

 

 

 

 

 

 

 

 

 

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